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                                      ‭IN THE UNITED STATES DISTRICT COURT‬
                                    ‭FOR THE EASTERN DISTRICT OF VIRGINIA‬

    ‭UNITED STATES OF AMERICA, et al.,‬                              ‭‬
                                                                     §
                                                                     ‭§‬
               ‭Plaintiffs,‬                                          ‭§‬
    ‭v.‬                                                               ‭§‬       ‭Civil Action No. 1:23-cv-00108-LMB-JFA‬
                                                                        ‭§‬
    ‭GOOGLE LLC,‬                                                        ‭§‬
                                                                          ‭§‬
               ‭Defendant.‬                                                ‭§‬




                                 ‭ ECLARATION OF DAN TAYLOR‬
                                 D
               ‭IN SUPPORT OF DEFENDANT GOOGLE LLC’S REVISED OBJECTIONS TO‬
              ‭THE PUBLIC DISCLOSURE OF CONFIDENTIAL INFORMATION AT TRIAL‬


             ‭I, Dan Taylor, pursuant to 28 U.S.C. § 1746, hereby declare as follows:‬

             ‭1.‬      ‭I‬‭am‬‭a‬‭Vice‬‭President‬‭of‬‭Global‬‭Ads‬‭at‬‭Google‬‭LLC‬‭(“Google”).‬ ‭I‬‭have‬‭been‬‭employed‬

   ‭by‬ ‭Google‬ ‭since‬ ‭August‬ ‭2006‬ ‭and‬ ‭have‬ ‭held‬ ‭my‬ ‭current‬ ‭position‬ ‭since‬ ‭May‬ ‭2021.‬ ‭I‬ ‭submit‬ ‭this‬

   ‭Declaration‬ ‭in‬ ‭support‬ ‭of‬ ‭Google’s‬ ‭Revised‬ ‭Objections‬ ‭to‬ ‭the‬ ‭Public‬ ‭Disclosure‬ ‭of‬ ‭Confidential‬

   ‭Information at Trial pursuant to the Court’s August 9, 2024 Order.‬

             ‭2.‬      ‭Based‬‭on‬‭my‬‭work‬‭at‬‭Google,‬‭I‬‭have‬‭personal‬‭knowledge‬‭of‬‭the‬‭company’s‬‭practices‬‭and‬

   ‭procedures‬‭for‬‭maintaining‬‭the‬‭confidentiality‬‭of‬‭its‬‭strategic,‬‭business,‬‭and‬‭financial‬‭information,‬‭as‬‭well‬

   ‭as‬ ‭the‬ ‭impact‬ ‭of‬ ‭publicly‬ ‭disclosing‬ ‭such‬ ‭information.‬ ‭The‬ ‭contents‬ ‭of‬ ‭this‬ ‭Declaration‬ ‭are‬ ‭true‬ ‭and‬

   ‭correct‬ ‭to‬ ‭the‬ ‭best‬ ‭of‬ ‭my‬ ‭knowledge,‬ ‭information,‬ ‭and‬ ‭belief,‬ ‭and‬ ‭are‬ ‭based‬ ‭on‬ ‭Google’s‬ ‭policies‬ ‭and‬

   ‭practices‬ ‭as‬ ‭they‬ ‭relate‬ ‭to‬ ‭the‬ ‭treatment‬‭of‬‭confidential‬‭information,‬‭the‬‭materials‬‭that‬‭were‬‭provided‬‭to‬

   ‭me‬ ‭and‬ ‭reviewed‬ ‭by‬ ‭me,‬ ‭and/or‬ ‭informed‬ ‭by‬ ‭conversations‬ ‭with‬ ‭other‬ ‭knowledgeable‬ ‭employees‬ ‭of‬

   ‭Google. If called upon as a witness in this action, I could and would testify competently thereto.‬

             ‭3.‬      ‭Google‬ ‭follows‬ ‭a‬ ‭strict‬ ‭practice‬ ‭that‬ ‭requires‬ ‭confidential‬ ‭treatment‬ ‭of‬ ‭its‬ ‭product‬ ‭and‬

   ‭customer‬ ‭data;‬ ‭internal‬ ‭strategic‬ ‭business‬ ‭plans;‬ ‭non-public‬ ‭financial‬‭information;‬‭and‬‭internal‬‭business‬



                                                                                                                                      ‭1‬
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                                                                              ‭2‬
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                                                                              ‭3‬
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            ‭10.      ‭I‬ ‭have‬ ‭reviewed‬ ‭PTX0219,‬ ‭PTX0957,‬ ‭PTX0974,‬ ‭PTX0996,‬ ‭PTX1063,‬ ‭PTX1065,

   ‭PTX1787,‬ ‭DTX1048,‬ ‭DTX1125,‬ ‭DTX1250,‬ ‭DTX1261,‬ ‭DTX1262,‬ ‭DTX1504,‬ ‭DTX1970,‬ ‭DTX2106,‬

   ‭and‬‭DTX2107,‬‭along‬‭with‬‭Google’s‬‭proposed‬‭redactions.‬‭Google’s‬‭proposed‬‭redactions‬‭encompass‬‭recent‬

   ‭or‬ ‭current‬ ‭pricing‬ ‭as‬ ‭well‬ ‭as‬‭recent‬‭or‬‭current‬‭commercially‬‭sensitive‬‭non-pricing‬‭contractual‬‭terms‬‭and‬

   ‭arrangements‬‭as‬‭well‬‭as‬‭specific‬‭customers’‬‭spending‬‭on‬‭Google‬‭products.‬ ‭Disclosure‬‭of‬‭this‬‭information‬

   ‭would‬ ‭provide‬ ‭Google’s‬ ‭competitors‬ ‭with‬ ‭unfair‬ ‭access‬ ‭to‬ ‭Google’s‬ ‭future‬ ‭business‬ ‭strategy‬ ‭and‬

   ‭confidential‬‭customer‬‭terms‬‭and‬‭could‬‭harm‬‭Google’s‬‭customers‬‭as‬‭well‬‭as‬‭Google’s‬‭competitive‬‭position‬

   ‭in‬ ‭the‬ ‭marketplace.‬ ‭For‬ ‭this‬ ‭reason,‬ ‭Google‬ ‭strictly‬ ‭maintains‬ ‭the‬ ‭confidentiality‬ ‭of‬‭this‬‭competitively‬

   ‭sensitive information.‬

            ‭11.      ‭I‬ ‭have‬ ‭reviewed‬ ‭PTX1406,‬ ‭PTX1407,‬ ‭PTX1408,‬ ‭PTX1409,‬ ‭PTX1436,‬ ‭PTX1437,

   ‭PTX1438,‬ ‭PTX1440,‬ ‭PTX1444,‬ ‭PTX1445,‬ ‭PTX1447,‬ ‭PTX1448,‬ ‭PTX1449,‬ ‭PTX1450,‬ ‭PTX1451,‬

   ‭PTX1452,‬ ‭PTX1453,‬ ‭PTX1454,‬ ‭PTX1468,‬ ‭DTX1837,‬ ‭DTX1845,‬ ‭DTX1846,‬ ‭DTX1983,‬ ‭DTX1988,‬

   ‭DTX1989,‬‭DTX1993,‬‭as‬‭well‬‭as‬‭Google’s‬‭proposed‬‭redactions.‬‭Google’s‬‭proposed‬‭redactions‬‭redact‬‭from‬

   ‭expert‬‭tables‬‭and‬‭figures‬‭identifying‬‭information‬‭of‬‭Google’s‬‭customers‬‭as‬‭associated‬‭with‬‭recent‬‭spend,‬

   ‭payouts,‬ ‭wins,‬ ‭impressions,‬ ‭and‬ ‭performance‬ ‭data.‬ ‭Disclosure‬ ‭of‬ ‭this‬ ‭information‬ ‭would‬ ‭provide‬

   ‭Google’s‬ ‭competitors‬ ‭with‬ ‭unfair‬ ‭access‬ ‭to‬ ‭Google’s‬‭confidential‬‭customer‬‭information‬‭and‬‭could‬‭harm‬

   ‭Google’s‬‭customers‬‭as‬‭well‬‭as‬‭Google’s‬‭competitive‬‭position‬‭in‬‭the‬‭marketplace.‬ ‭For‬‭this‬‭reason,‬‭Google‬

   ‭strictly maintains the confidentiality of this competitively sensitive information.‬




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